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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10      UNITED STATES OF AMERICA,                            NO. CV 21-1625
11                             Plaintiff,
12                    v.                                     WARRANT OF ARREST IN REM
13
     $15,550.50 IN UNITED STATES FUNDS
14   SEIZED FROM CITIBANK ACCOUNT
     ENDING IN -9724, AND ANY ACCRUED
15
     INTEREST,
16
     $13,791.04 IN UNITED STATES FUNDS
17
     SEIZED FROM BANK OF AMERICA
18   ACCOUNT ENDING IN -8376, AND ANY
     ACCRUED INTEREST,
19
20   and,
21
     $583.13 IN UNITED STATES FUNDS
22   SEIZED FROM WELLS FARGO BANK
23   ACCOUNT ENDING IN -4200, AND ANY
     ACCRUED INTEREST,
24
                               Defendants.
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26
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28

     Warrant of Arrest in Rem - 1                                                  UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.     SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
                 Case 2:21-cv-01625 Document 1-2 Filed 12/03/21 Page 2 of 3




 1 TO:      UNITED STATES MARSHALS SERVICE,
            and/or its duly authorized agents and representatives
 2
 3          WHEREAS, a Verified Complaint for Forfeiture in Rem was filed in the above-
 4 captioned action on December 2, 2021, in the United States District Court for the
 5 Western District of Washington, alleging the Defendants $15,550.50 in United States
 6 Funds and any Accrued Interest; $13,791.04 in United States Funds and any Accrued
 7 Interest; and $583.13 in United States Funds and any Accrued Interest (hereafter, the
 8 “Defendant Funds”) are subject to forfeiture to the United States pursuant to 18 U.S.C.
 9 §§ 981(a)(1)(C) and 984, for violations of 18 U.S.C. §§ 1343 (wire fraud),
10 1956(a)(1)(B)(i) (money laundering); and 1956(h) (money laundering conspiracy); and
11          WHEREAS, as reflected in the Verified Complaint, the Defendant Funds are in
12 the government’s possession, custody, and control;
13          YOU ARE, THEREFORE, HEREBY COMMANDED, pursuant to Supplemental
14 Rule G(3)(b)(i) of the Federal Rules of Civil Procedure, to arrest and seize the Defendant
15 Funds; and,
16          YOU ARE FURTHER COMMANDED that, after executing this arrest and
17 seizure, you promptly file a record so reflecting in this Court.
18
19          DATED this ________ day of December, 2021.
20
21                                                  RAVI SUBRAMANIAN
22                                                  UNITED STATES DISTRICT COURT CLERK

23
24
                                                    By:
25                                                        DEPUTY CLERK
26
27
28

     Warrant of Arrest in Rem - 2                                                  UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.     SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
                  Case 2:21-cv-01625 Document 1-2 Filed 12/03/21 Page 3 of 3




 1 Presented by:
 2
 3    /s/ Jehiel I. Baer
     JEHIEL I. BAER
 4
     Assistant United States Attorney
 5   United States Attorney’s Office
     700 Stewart Street, Suite 5220
 6
     Seattle, WA 98101-1271
 7   (206) 553-2242
     Jehiel.Baer@usdoj.gov
 8
 9
     NOTE: This warrant is issued pursuant to Rule G(3) of the Supplemental Rules for Admiralty or
10 Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil Procedure.
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      Warrant of Arrest in Rem - 3                                                  UNITED STATES ATTORNEY
                                                                                   700 STEWART STREET, SUITE 5220
      United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.     SEATTLE, WASHINGTON 98101
                                                                                           (206) 553-7970
